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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                               Case Number: 21-20824-CIV-MORENO

   RUBEN PAIS and SUSAN PAIS, his spouse,

                  Plaintiff,
   vs.

   HOME DEPOT U.S.A., INC.,

                  Defendant.
  _________________________________________/

                ORDER CLOSING CASE FOR STATISTICAL PURPOSES AND
                     PLACING MATTER IN CIVIL SUSPENSE FILE

         THIS CAUSE came before the Court upon Parties' Joint Motion to Continue Trial and

  Motion to Continue Pretrial Deadlines (D.E. 8), filed on March 19, 2021.

         Given the Plaintiff's current health, the Court finds it advisable to place the cause in civil

  suspense. Accordingly, it is

         ADJUDGED that:

         I.      The Clerk of this Court shall mark this cause as closed for statistical purposes and

                 place the matter in a civil suspense file.

         II.     The Court shall retain jurisdiction and the case shall be restored to the active

                 docket upon motion of a party if circumstances change so that this action may

                 proceed to final disposition.

         III.    This order shall not prejudice the rights of the parties to this litigation.

         IV.     Plaintiff SHALL notify the Court by June 23, 2021, and every three months

                 thereafter of the current status of the proceedings and when this action is ready to
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                proceed. When the Plaintiff has sufficiently recovered, the temporary stay will be

                lifted. No discovery or motions shall be permitted during the stay.



         DONE AND ORDERED in Chambers at Miami, Florida, this 23rd of March 2021.




                                      ______________________________________
                                            FEDERICO A. MORENO
                                            UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record




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